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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEREK WAYNE JACKSON                 :                               CIVIL ACTION
                                    :
       v.                           :
                                    :
MS. JULIE FAULKNER, Montgomery      :
County District Courts, MR. JOHN N. :
GRADEL, Montgomery County           :
District Courts, U.S. DEPARTMENT OF :
THE TREASURY, Bureau of the         :
Fiscal Service, MONTGOMERY          :
COUNTY DISTRICT ATTORNIES (sic)     :
OFFICES and MONTGOMERY COUNTY :
COURTS OF THE COMMON PLEAS          :                               NO. 20-3547

                                                     ORDER

         NOW, this 15th day of October, 2020, upon consideration of plaintiff’s motion to

proceed in forma pauperis (Doc. No. 1), his pro se Complaint, his untitled motion to

release materials (Doc. No. 6), and his motion to continue (Doc. No. 7), it is ORDERED

as follows:

         1.       Leave to proceed in forma pauperis is GRANTED.

         2.       Pursuant to 28 U.S.C. § 1915(b), plaintiff, Derek Wayne Jackson, # GQ-

3151, shall pay the filing fee of $350 in installments.1

         3.       The Superintendent or other appropriate official at SCI-Greene is directed

to assess an initial filing fee of 20% of the greater of (a) the average monthly deposits to

Jackson’s inmate trust fund account; or (b) the average monthly balance in Jackson’s

inmate trust fund account for the six-month period immediately preceding the filing of this




1  Plaintiff is advised that he will be obligated to pay the filing fee in installments even if his case is dismissed.
In other words, if his case is dismissed, payment of the fee will continue to be deducted from his inmate
trust fund account.
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case and forward the initial payment assessed, with a reference to the above Civil Action

Number, to the Clerk of Court at the following address:

                        Clerk of the United States District Court
                        for the Eastern District of Pennsylvania
                        Room 2609
                        601 Market Street
                        Philadelphia, Pennsylvania 19106.

        4.      The Superintendent or other appropriate official at SCI-Greene shall, after

the initial partial filing fee is paid and until the balance of the filing fee is paid in full, deduct

from Jackson’s inmate trust fund account, each time his inmate account exceeds $10.00,

an amount no greater than 20 percent (20%) of the money credited to his inmate account

during the preceding month and forward that amount, with a reference to the above Civil

Action Number, to the Clerk of Court at the above address.

        5.      The complaint is deemed filed.

        6.      Jackson’s untitled “motion” (Doc. No. 6) and motion to continue (Doc. No.

7) are DENIED.

        7.      Pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii), Jackson’s complaint is

DISMISSED WITHOUT PREJUDICE.2

        8.      The Clerk of Court is directed to forward a copy of this Order to the

Superintendent or other appropriate official at SCI-Greene and to the plaintiff.



                                                                  /s/ TIMOTHY J. SAVAGE J.




2 The dismissal is without prejudice to Jackson filing a new case in the event his underlying conviction is
reversed, vacated, or otherwise invalidated. Nothing in this Order precludes Jackson from proceeding in
his pending habeas proceeding. See Jackson v. Coleman, Civ. A. No. 13-5932 (E.D. Pa.).
